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                          UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION
Jason J. Johnson                                    §
                                                    §
vs.                                                 §       NO: AU:23-CV-00179-RP
                                                    §
Portfolio Recovery Associates, LLC                  §

                                                 ORDER

        The Court hereby sets and directs the parties, or counsel acting on their behalf, to appear by
phone for an initial pretrial conference on June 02, 2023 at 09:00 AM .
                 **Please call in 5 minutes prior to start of hearing.**
                1. Toll free number: 888-363-4735
                2. Access code: 3948919
        If there are questions regarding the telephonic appearance, the parties should contact Julie
Golden, Courtroom Deputy, at julie_golden@txwd.uscourts.gov.


        The use of speaker phones is prohibited during a telephonic appearance. Additionally,
because earlier hearings in other cases may be in progress at the time attorneys call in for their
scheduled conference, attorneys should call in with their phones on “mute” and wait for the
Courtroom Deputy to call this case.before they speak.


        The parties should be prepared to discuss potential trial settings as the Court intends to set a
trial date in this action at the initial pretrial conference. If counsel of record fail to appear by phone,
the Court will reschedule the conference and counsel who failed to appear by phone will be required
to appear in person for the rescheduled conference.



                SIGNED on 4th day of May, 2023.


                                                        ______________________________
                                                        ROBERT PITMAN
                                                        UNITED STATES DISTRICT JUDGE
